Case 9:18-cv-01472-TJM-TWD Document 65 Filed 05/11/20 Page 1 of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Xx

 

Timon &- Lando, Te.

Plaintiff, .
Case No. /8-CV- IT7A

~against-
Judge: TIM / TWD

Annucci (etal,
Defendant.

-X

 

PLEASE BE ADVISED THAT MY NEW ADDRESS IS:
NUMBER AND STREET: For+ Lodge Mote/ 735) Ny-3

 

 

 

 

ciTy: fulaske sTATE: N.Y.
ZIPCODE: |2IY2 | TELEPHONE NO:

IF APPLICABLE:

PRISON: _ PRISONER ID#

 

_ EFFECTIVE DATE OF CHANGE: _VY)ay_} 4 A0ae
J

DATED: May 7, 2030 Leet & chanel, At.

GNATURE

 

_Timethy £. lando, IL.
_ PRINTED NAME

Marcu Cf. 2d Box 32WO6
PRESENT ADDRESS

Marcy, NY 13403
Case 9:18-cv-01472-TJM-TWD Document 65 Filed 05/11/20 Page 2 of 3

AFFIDAVIT OF SERVICE

STATE OF NEW YORK)
COUNTY OF ONEIDA) SS:.:

I, —Limath4 iE - Lande, JC. ., being first duly sworn, deposes and says that:

I have served true and exact copies of the foregoing documents: Ada vESS ¢ hange

 

 

By placing same in a postage paid and properly addressed wrapper and depositing same in a United
States Postal Box under the exclusive care and Custody of the New York State Department of

Corrections and Community Supervision, within the Marcy Correctional Facility, to be served upon

the below listed person(s):

 

 

 

 

 

 

 

 

 

 

Letitia James Hon. Mamas J. MicAvey

D4ds ned General 5. PistricA Court

Df the stale of Nein YolK PU. BOX 737

The Capitol 100.5, Clinton St.

M1 bang MY. 19d24 Syracuse Nf. 1326 /
Yours Etc.,

(Ltnatheg €.cany, fe.

Marcy Correctional Facility
Box 3600

Marcy, New York 13403-3600

SWORN to before me on
this day of , 20

 

NOTARY PUBLIC
Case 9:18-cv-01472-TJM-TWD Document 65 Filed 05/11/20 Page 3 of 3

IN ABSENCE OF NOTARY

INTHE MATTER OF: Lando V.Annucd etal, 1%-cv-1972

 

TIM [Twb
STATE OF NEW YORK
COUNTY OF Oneida: ss.
L, Timothy E. hand I the flan 4 in the above stated °

 

matter, hereby declare under: penalty of perjury, pursuant to 28 USC § 1746; and People vee . ms
Sullivan, 56 NY.2d 378; 452 NYS. 2d 373(1982); Penal Law §§ 210.40 and 210. 45 that:

I understand that falsé statements made i in the foregoing |
document(s) are punishable as a Class-A Misdemeanor, pursuant ©
to 28 USC § 1746 of the United States Criminal Code; and New York .
State Penal Law §§ 210.40 and 210.45. I further declare that the
statements made in the foregoing documents, submitted in the ‘above
stated proceedings, are true and correct to the best of my knowledge,
information and belief, and that I do believe them to be true and correct
under penalty of perjury.

| Dated: Wat. 73030

Sint é. Acs 4

nature of Declardnt

Timothy €. lanclo ae

Print or type name
